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                               OFFICE OF THE CIRCUIT MEDIATORS
                            UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
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SCOTT COBURN
JOHN A. MINTER
                                         September 20, 2023

Katherine Leone Anderson
John J. Bursch
Cassandra A. Drysdale-Crown
Heather S. Meingast
Kimberly K. Pendrick
Ryan J. Tucker

       Re: Sacred Heart of Jesus Parish, Grand Rapids, et al v. Dana Nessel, et al, CA No. 23-1781

                                    CANCELATION NOTICE

Dear Counsel:


       Pursuant to Rule 33 of the local Rules of the Sixth Circuit, the mediation conference currently

scheduled for September 29, 2023, is hereby CANCELED.


                                                                Sincerely,



                                                                Connie A. Weiskittel
                                                                Mediation Administrator

cc:    John A. Minter
